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                                        February 25, 2021



      VIA ECF
      The Honorable Donovan W. Frank
      U.S. District Court Judge, District of Minnesota
      United States District Court
      316 North Robert Street
      St. Paul, MN 55101

      Re:    Karsjens, et al. v. Minnesota Department of Human Services, et al.
             Case No. 0:11-cv-03659 (DWF/TNL)

      Dear Judge Frank:

            As you know, the Eighth Circuit Court of Appeals issued an order in the
      above-referenced matter vacating the dismissals of Courts 5, 6, and 7, and
      remanding the case back to the District Court for further proceedings.

             I write on behalf of the Plaintiffs to request a status conference to discuss the
      steps necessary to move the case forward. Plaintiffs’ counsel can be available any
      day that is convenient for the Court and Defense counsel.

             I suggest that prior to the status conference, the parties meet and confer to
      discuss possible agenda items. If acceptable to the Court, both sides would submit
      a letter setting forth their respective positions on the issues one week before the
      status conference.
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      Please call me if you have any questions.

                                         Respectfully,
                                         GUSTAFSON GLUEK PLLC




                                         Daniel E. Gustafson
DEG/sam

cc:   Counsel of Record (via ECF)
